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                                                October 14, 2023

VIAECF
Hon. Sidney H. Stein
United States District Judge
                                                             MEMO ENDORSED
Southern District of New York
500 Pearl Street, Courtroom 23A
New York, NY 10007

       Re:     United States v. Robert Menendez et al., Case No. 1:23-cr-00490-SHS

Dear Judge Stein:

        We write on behalf of defendant Senator Robert Menendez to request that the Court adjourn his
arraignment on the Superseding Indictment, presently scheduled for October 18, 2023 at 2 :00 PM (D .E.
66 , Order), until a time convenient for the Court on either Monday, October 23, 2023 or Monday, October
30 , 2023 .

       The reason for the requested adjournment is that Senator Menendez has previously scheduled
Senate business in Washington, D.C. on Wednesday, October 18, including anticipated Senate floor votes.
Accordingly, Senator Menendez respectfully requests that his arraignment be adjourned until either of the
dates noted above.

      We have conferred with the government, and AUSA Daniel Richenthal has informed us that the
government has no objection to this request.

       This is Senator Menendez's first request for an adjournment of his arraignment on the Superseding
Indictment.

                                                Respectfully,
                                                  C
                                                  /          ~
                                                                 ~~

cc: All counsel (via ECF and Email)             Seth C. Farber

Senator Menendez's request to adjourn his arraignment to October 23, 2023, at 3:00 p.m. is granted.

Dated: New York, New York
       October 16, 2023
